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Thom son, Katigue,
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Item: 2021-68

CORPORATE CREATIONS"

: Ragistered Agent * Director « Incorporation

Corporate Creations Network Ine.
801 US Highway 1 North Palm Beach, FL 33408

    

Werner Enterprises, Inc.
Sandy Wagner

Werner Enterprises
14507 Frontier Road
Omaha NE 68138

SERVICE OF PROCESS NOTICE

The following is a courtesy summary of the enclosed document(s). ALL Information should be verified by you.

Note: Any questions regarding the substance of {he matter described below, including the status or how to respond, should be
directed to the contact set forth in line 12 below or to the court or government agency where the matter is being heard. IMPORTANT:
All changes or updates to the SOP contact individuals or their contact infarmation must be submitted in writing to

SOPcontact@corpcreations.com. Any changes will become effective upon written confirmation of Corporate Creations.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1. Entity Served: Werner Enterprises, Inc.
2. Title of Action: | Megan Joncas vs. Rafique Thompson
3. Document(s) Served; Summons

Complaint

Plaintiff's Interrogatories and Request for Production of Documents to Werner Enterprises, Inc.

Request for Admissions to Werner Enterprises, Inc.
4. Court/Agency: Suitolk County Circuit Court
8. State Served: Virginia
6. Case Number: 800CL21000599-00
Bi Case Type: Negligence/Personal Injury
8. Method of Service: Hand Delivered
9. Date Received: Friday 03/12/2021 kee
10. Date to Client: © Monday 03/15/2021
11. # Days When AnswerDue: 21 CAUTION: Client is solely responsible for verifying the acouracy of the estimated Answer Due

H if ate. To issi i ine, we Ol immediately confirming in writi
Answer Due Date: Ce a eae with opposing counsel that the date uf the service in their records matches the Date Received.
12. Sop Sender: Kalfus & Nachman, P.C.
(Name, City, State, and Phone Number) Nortolk, VA

757-461-4900
13. Shipped To Client By: © Email Only with PDF Link
14. Tracking Number:
15, Handled By: 471
16. Notes: None
NOTE: This notice and the information above is provided for general informational purposes only and should not be considered a legal opinion. The client and their legal
counsel are solely responsible for reviewing the service of process and verifying the eoaneye all information. At Corporate Creations, we take pride in developing systems
that effectively manage risk so our clients feel comfortable with the reliability of our service. We always deliver service of pracess so our clients avoid the risk of a default
judgment. As registered agent, our role is to receive and forward service of process. To decrease risk for our clients, it is not our role to determine the merits of whether service
o roleeaine i. ae affective. It is the role of legal counsel to assess whether Service of process is invalid or defective. Registered agent services are provided by Corporate

reations Network Inc.

 

 

 

801 US Highway 1 North Palm Beach, FL33408 Tel: (561) 694-8107 Fax: (561) 694-1639
www.GorporateCrealions.com

 
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IT COURT
Civil Division
150 N. MAIN STREET
SUFFOLK VA
(757) 514-7800
Summons
To: WERNER ENTERPRISES, INC. Case No. 800CL21000599-00

R/A CORPORATE CREATIONS
NETWORK, INC.
425 WEST WASHINGTON STREET
SUITE 4

SUFFOLK VA 23434-5320

The party upon whom this summons and the attached complaint are served is hereby notified
that unless within 21 days after such service, response is made by filing in the clerk’s office
of this court a pleading in writing, in proper legal form, the allegations and charges may be
taken as admitted and the court may enter an order, judgment, or decree against such party
either by default or after hearing evidence.

Appearance in person is not required by this summons.

Done in the name of the Commonwealth of Virginia on, Thursday, March 04, 2021

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Clerk of Court; W. R. CARTER JR. {YS
by
LE ¥YCL
Instructions:
Hearing Official:

O'DAWE, COLIN P
Attorney's name: 757-461-4900 SEE ey
DRISKELL SERVICES, INC.
757-961-696)
Case 2:21-cv-00163-RAJ-DEM Document 1-1 Filed 03/29/21 Page 3 of 37 PagelD# 8

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VIRGINIA: IN THE CIRCUIT COURT FOR THE CITY OF SUFFOLK
MEGAN JONCAS,

Plaintiff
vs. CASE #: ( J ale ) (9
RAFIQUE THOMPSON,
SERVE: RAFIQUE THOMPSON

2050 South Ridgewood Avenue, H24

South Daytona, Florida 32119
and
WERNER ENTERPRISES, INC.,
SERVE: WERNER ENTERPRISES, INC.

R/A Corporate Creations Network, Inc.

425 West Washington Street, Suite 4

Suffolk, Virginia 23434-5320

Defendants.

COMPLAINT
NOW COMES your plaintiff Megan Joncas and respectfully moves the Circuit Court for

the City of Suffolk for judgment of and against the defendants Rafique Thompson and Wermer
Enterprises, Inc. (hereinafter referred to as “Werner Enterprises”), jointly and severally, and on
the grounds set forth herein and in the sum of THREE MILLION SEVEN HUNDRED FIFTY
THOUSAND ($3,750,000.00) in compensatory damages, together with pre-judgment interest
against the defendants Rafique Thompson and Werner Enterprises from December 2, 2019 and

her taxable court costs, and in support of her Complaint, the plaintiff states as follows:

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FACTS APPLICABLE TO ALL COUNTS

1. Upon information and belief, at all times relevant hereto the plaintiff Megan
Joncas is a resident and domiciled in the Commonwealth of Virginia.

2. Upon information and belief, at all times relevant hereto the defendant Werner
Enterprises is a corporation that is authorized to transact business, has done business and is
continuing to do business in the Commonwealth of Virginia.

3 Upon information and belief, at ali times relevant hereto the defendant Werner
Enterprises has a registered office and agent to receive process at Corporate Creations Network,
Inc., 425 West Washington Street, Suite 4 in the City of Suffolk, Virginia.

4, Upon information and belief, the defendant Werner Enterprises conducts
substantial business activity in the Commonwealth of Virginia with office locations in Front
Royal, Virginia; Staunton, Virginia; and South Boston, Virginia.

Ss. Upon information and belief, at all times relevant hereto the defendant Werner
Enterprises employed defendant Rafique Thompson, who was operating a 2019 International
commercial truck bearing USDOT number 53467, which was owned by Werner Enterprises at
the time of the subject motor vehicle collision on December 2, 2019.

6. Upon information and belief, the defendant Rafique Thompson was employed in
a training capacity with defendant Werner Enterprises with an instructor sitting in the passenger
seat.

a Upon information and belief, at all times relevant hereto the defendant Rafique
Thompson was an employee, agent, and/or servant of defendant Werner Enterprises and for all
times mentioned herein, defendant Rafique Thompson was acting within the course and scope

of his employment, agency, and/or servitude with defendant Werner Enterprises.

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8. Upon information and belief, the subject commercial truck originated out of the
defendant Werner Enterprises’ 2121 Industrial Park Road, South Boston, Virginia location on
the day of the subject motor vehicle wreck.

COUNT L- NEGLIGENCE OF RAFIQUE THOMPSON

9. The plaintiff hereby adopts and incorporates by reference all the allegations of all
preceding paragraphs of the Complaint as if set forth more fully herein.

10. On or about December 2, 2019 at or about 7:01 p.m., the plaintiff was lawfully
operating her 2017 Ford Fiesta traveling westbound on Holland Road approaching its
intersection with Chappel! Drive in the City of Suffolk, Virginia.

li. At the same time and place, the defendant Rafique Thompson was operating a
2019 International commercial truck, which was owned by Wermer Enterprises, traveling
southbound on Chappell Drive approaching its intersection with Holland Road in the City of
Suffolk, Virginia,

12. At the same time and place, it was the duty of the defendant Rafique Thompson
to operate the 2019 International commercial truck in a safe and lawful manner so as not in
injure the plaintiff and others using the road, and in compliance with the laws of the
Commonwealth of Virginia, the Federal Motor Carrier Safety Administration Regulations and
the rules of the road made and provided for the safe operation of a motor vehicle and a

commercial motor vehicle.

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Case 2:21-cv-00163-RAJ-DEM Document 1-1 Filed 03/29/21 Page 6 of 37 PagelD# 11

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13. Notwithstanding the above duties and in breach of same, at the same time and
place, the defendant Rafique Thompson, without warning, negligently, recklessly and carelessly
breached those duties and entered the intersection of Holland Road and Chappell Drive when it
was not reasonably safe to do so, and leaving the rear wheels of the commercial truck in the left-
hand lane of Holland Road westbound. The wheels were not visible as it was pitch dark and no
reflectors or warnings could be seen due to the commercial truck’s angle. This caused the
plaintiff's 2017 Ford Fiesta motor vehicle to crash into the commercial truck’s rear wheels
which forced the plaintiff's vehicle to spin around and finally come to a rest facing east in the
westbound lanes of travel on Holland Road in the City of Suffolk, Virginia.

14. The defendant Rafique Thompson’s negligence aforesaid included but was not
limited to the following; failed to keep a proper lookout; failed to keep his vehicle under proper
control; failed to keep a safe distance between his vehicle and the vehicle operated by Ms.
Joncas; failed to yield right-of-way; operated his motor vehicle with reckless disregard for other
drivers on the road; entered an intersection when it was not reasonably safe to do so; obstructed
the highway; and was or may have been negligent in other ways which may be revealed through
the discovery process.

15. Asadirect and proximate result of the carelessness, recklessness, and negligence
of the defendant as aforesaid, the plaintiff was caused to sustain serious, severe, painful and
permanent injuries; has incurred medical and hospital expenses in an effort to be healed and
cured and will continue to incur said expenses in the future; has suffered and will continue to
suffer great physical pain and mental anguish; has been unable to carry on her usual occupation;
has lost time from work and will continue to lose time from work in the future; has lost and will
continue in the future to sustain a loss of earning capacity; has been otherwise injured and

damaged and will continue to be so injured and damaged.

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Case 2:21-cv-00163-RAJ-DEM Document 1-1 Filed 03/29/21 Page 7 of 37 PagelD# 12

COUNT JI - NEGLIGENCE OF WERNER ENTERPRISES, INC.

16. The plaintiff hereby adopts and incorporates by reference all of the allegations of
the prior paragraphs of the Complaint, as if set forth more fully herein; and further:

17. At the same time and place, it was the duty of the defendant, Werner Enterprises,
to properly maintain the 2019 International commercial truck.

18. At the same time and place, it was the duty of the defendant, Werner Enterprises,
to properly supervise and train its employee and agent driver Rafique Thompson.

19, | Upon information and belief, at all times relevant hereto, defendant Rafique
Thompson was an employee, agent, owner, and/or servant of defendant Werner Enterprises and
that for all times mentioned herein, defendant Rafique Thompson was acting within the course
and scope of his employment, agency, and/or servitude with defendant Werner Enterprises.

20. Defendant Werner Enterprises is responsible for the negligent acts of defendant
Rafique Thompson under the legal principles of agency and the doctrine of respondeat superior.

21. The collision and resulting injuries suffered by the plaintiff were proximately
caused by the joint and several negligence, recklessness, and carelessness of defendants Rafique
Thompson and Werner Enterprises as set forth herein.

22. Asa direct and proximate result of the carelessness, recklessness and negligence
of the defendant, as aforesaid, the plaintiff was caused to sustain serious, severe, painful and
permanent injuries; has incurred medical and hospital expenses in an effort to be healed and
cured and will continue to incur said expenses in the future; has been unable to carry
on her usual occupation; has lost time from work and will continue to lose time from work in
the future; has lost and will continue in the future to sustain a loss of earning capacity has
suffered and will continue to suffer great physical pain and mental anguish; has been otherwise

injured and damaged and will continue to be so injured and damaged.

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Case 2:21-cv-00163-RAJ-DEM Document 1-1 Filed 03/29/21 Page 8 of 37 PagelD# 13

WHEREFORE, your plaintiff Megan Joncas moves this Honorable Court for judgment
of and against the defendants Rafique Thompson and Werner Enterprises, Inc., jointly and
severally, and on the grounds set forth herein and in the sum of THREE MILLION SEVEN
HUNDRED FIFTY THOUSAND ($3,750,000.00) in compensatory damages, together with pre-
judgment interest from December 2, 2019 and her taxable court costs as aforesaid, and for all

general and equitable relief.

TRIAL BY JURY IS DEMANDED.

MEGAN JONGAS

 

By:
\_ Of Counsel
Colin P. O’Dawe, Esq.
(VSB #74162)
KALFUS & NACHMAN, P.C,
870 North Military Highway, Suite 300
Norfolk, Virginia 23502

757-461-4900 telephone
757-461-1518 facsimile

cpo@knlegal.com

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VIRGINIA: IN THE CIRCUIT COURT FOR THE CITY OF SUFFOLK.
MEGAN JONCAS,
Plaintiff,
vs, CASE #: ( ul 2 bas 7
RAFIQUE THOMPSON,
and
WERNER ENTERPRISES, INC.,

Defendants.

PLAINTIFF'S INTERROGATORIES AND REQUEST FOR PRODUCTION OF
DOCUMENTS TO WERNER ENTERPRISES, INC.

TO: WERNER ENTERPRISES, INC.

R/A Corporate Creations Network, Inc.

425 West Washington Street, Suite 4

Suffolk, Virginia 23434-5320

NOW COMES the Plaintiff, Megan Joncas, by counsel, and requests that the Defendant,
Werner Enterprises, Inc,, answer under oath the following Interrogatories and Request for
Production of Documents, within twenty-eight (28) days, as required by Rule 4:8 and 4:9 of the
Rules of the Supreme Court of Virginia.

INSTRUCTIONS

In answering these interrogatories and request for production of documents, please
furnish all information which is available to you or any of your agents, including attorneys or
investigators, and not merely such information known of your personal knowledge. Ifyou
cannot answer in full after exercising due diligence to secure the information to do so, so state,
then answer to the extent possible, indicating the reason for your inability to answer fully. Ifan

objection is made to an interrogatory, an answer should be made to such part of the interrogatory

that is not considered objectionable.
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If the answer is made by a corporate defendant, state the name, address and title of the
person supplying the information, together with the source of his or her information.

These interrogatories and request for production of documents are deemed continuing in nature
So as to require supplemental answers under oath within fifteen (15) days after you or your
agents acquire any further information sought by these interrogatories or requests and in no event
no later than ten (10) days before trial.

Unless otherwise indicated, these interrogatories and requests refer to the time, place,
circumstances and acts described in the plaintiff's Complaint.

DEFINITIONS

lL. "Identify" or “identity” when used in reference to an individual person, means to
state the full name, present or last known address, telephone number, and present or last known
position or business affiliation of such person. When used in reference to a corporation or other
business entity, "identify" or "identity" means to state the division or unit of the corporation or
other business entity and the address and telephone number of that division or unit.

= "You" or "your" means the defendant, his employees, agents, representatives,
attorneys, experts, investigators, insurer, or anyone acting on behalf of any of the foregoing,

3. "Person" shall mean and include any individual, sole proprietorship, partnership,
corporation, association or government agency.

4. "Documents" means any written, recorded or graphic matter however produced or
reproduced and whether or not claimed to be privileged against discovery on any grounds,
including, but not limited to, reports, records, lists, memoranda, telegrams, correspondence,
schedules, photographs, videotapes, sound recordings, microfilm, microfiche, films, discs and

information stored in computers or other data or word processing equipment.
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5. The terms “motor vehicle collision,” "collision," “subject collision,” "wreck,"
“accident,” "incident" "subject incident," "occurrence," and "subject occurrence" all refer to the
motor vehicle accident involving the vehicle operated by defendant Rafique Thompson and the
vehicle operated by the plaintiff Megan Joncas on December 2, 2019 as set forth in the
Complaint.

6. The terms "roadway," "road," and "highway," all refer to Holland Road near its
intersection with Chappell Drive in the City of Suffolk, Virginia where the accident occurred,
unless specifically stated otherwise within the request.

Ve Unless specifically stated otherwise, the terms "site" and "scene" refer to the
entire area where the subject incident occurred, encompassing the places where the various
vehicles first made contact, the places where they came to rest, and all areas in between.

8. The terms “truck,” "vehicle," “motor vehicle," "defendants' vehicle," “defendants’
truck” “defendants’ commercial truck,” and “defendants' tractor-trailer" refer to the 2019
International commercial truck that was being operated by defendant Rafique Thompson and was
involved in the motor vehicle collision that occurred on December 2, 2019 as set forth in the
Complaint filed in this matter.

PRIVILEGE

If any document referred to in any Interrogatory or Request for Production, or in your
response to any Interrogatory or Request for Production, would be identified, described, or
produced except for the fact that a privilege against such identification, description, or
production is claimed, then set forth for each such document:

(a) its date, title, type of document, and its length;

(b) its writer, preparer, sender, addressee and every person receiving copies;

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(c) a general description of its subject matter;

(d) the exact grounds on which the objection to production is based;

(e) __ the identity of all persons, in addition to those identified as required by
section (b), supra, known to you who have seen the document; and

(f) the identity of the person now in possession of the document,

DOCUMENTS NO LONGER IN EXISTENCE OR NO LONGER UNDER POSSESSION,
CUSTODY OR CONTROL

If any document referred to in any Interrogatory or Request for Production, or in your
response to any Interrogatory or Request for Production, was at one time in existence and under
defendant's or defendant's attorney's possession, custody or control, but has been lost, discarded
or destroyed, or has been removed from defendant's or defendant’s attorney's possession, custody
or control, then with respect to each such document:

(a) identify and describe such document by date, title, and type of document;

(b) state when each such document was most recently in the possession of or
subject to the control of the defendant, or defendant's attorneys, and what disposition was made
of such document, including an identification of the person, if any, presently in possession or
control of such document;

(c) state when such document was transferred or destroyed, identify the person
who transferred or destroyed such document and the persons who authorized or directed that the
document be transferred or destroyed or having knowledge of its transfer or destruction, and
state the reason such document was transferred or destroyed; and

(d) identify all persons having knowledge of the contents thereof.
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INTERROGATORIES

1. Please provide the full name, home address, home phone number, business,
address, office phone number, place of employment and job position for each and every person,
firm, or entity who answered or assisted in answering these Interrogatories.

ANSWER:

2. Does any primary and/or excess insurance agreement or bond exist under the
terms of which the person or company issuing the same may be called upon to satisfy all or part
of any judgment which may be entered in favor of the Plaintiff in this action?

(a)  Ifsuch an insurance agreement or bond does exist, what are the limits
of liability contained in the terms of each such agreement?

(b) If such an insurance agreement or bond does exist, what are the legal
names of each and every party to each agreement itself and to any further or subordinate
agreement which in any way relates to the terms of any such agreement?

(c) What is the amount of any deductible or self-insured retention as to
each such agreement?

ANSWER:
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3. Ifyou or anyone acting on your behalf obtained statements in any form from any
person regarding the subject collision, the Plaintiff and/or Plaintiff's past medical care, including
but not limited to statements made by the Plaintiff, state with respect to each such statement:

(a) the name and address of the person(s) from whom such statement
was obtained;

(b) the name and address of the person(s) to whom such statement was
made;

(c) the date the statement was made;

(d) the form of the statement;

(e) if the statement was written, whether it was signed; and

(f) the names and addresses of all persons presently having custody of the
statement.

ANSWER:
Case 2:21-cv-00163-RAJ-DEM Document 1-1 Filed 03/29/21 Page 15 of 37 PagelD# 20

4,

Do you, your attomeys, your insurance carriers or anyone acting on your or their

behalf have or know of any photographs, motion pictures, maps, plats, drawings, diagrams,

measurements, videotapes, audio recordings or other tangible or documentary evidence

concerning any of the events, happenings, scene of the wreck, the condition of any vehicle (or

any part thereof) involved in the wreck either before or after the event alleged in this action, or

the plaintiff? If so, please identify:

(a) each tangible item's specific subject matter;

(b) the date it was made or taken:

(c) the name and address of the person making or taking it;

{d) what each item purports to show, illustrate or represent; and

(e) the name and address of each person having custody of such item or items.
ANSWER:
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5. State the name, address, occupational title, and present whereabouts of each
person whom you expect to call as an expert witness at the trial of this case, and with respect
thereto, state the following:

(a) the subject matter on which the expert is expected to testify;

(b) the substance of the facts and opinions to which the expert is expected
to testify;

(c) | asummary of the grounds for each opinion to which the expert is
expected to testify; and

(d) whether any reports or other written materials or letters have been
generated by such expert for this case.

ANSWER:
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6. Identify all expert witnesses who have been retained or specially employed by
you, your attorney, or any other person acting on your behalf in anticipation of litigation or
preparation of trial and who is not expected to be called as a witness at trial, whose facts or
opinions are impractical for the plaintiff to obtain by other means. With respect to each expert,
state the following:

(a) the subject matter on which the expert is expected to testify;

(b) the substance of the facts and opinions to which the expert is expected to testify;

(c) a summary of the grounds for each opinion to which the expert is expected to
testify; and

(d) whether any reports or other written materials or letters have been generated by
such expert for this case.

ANSWER:

ts Please explain the nature of the employment relationship between you and
Rafique Thompson on the day of the wreck (employee, lease operator, company driver,
temporary driver, owner-operator, etc.) and include the date the relationship began, the date it
terminated, and, if applicable, the person from your company involved in any such termination.

ANSWER:
Case 2:21-cv-00163-RAJ-DEM Document 1-1 Filed 03/29/21 Page 18 of 37 PagelD# 23

8. Please state the name, address, home phone number, office phone number,
and address of employment for each and every person, firm, or entity who:

)) witnessed the wreck described in the Complaint;

(b) arrived at the scene of the wreck within two (2) hours after it occurred;

(c) has or who claims to have knowledge of liability in this action; and/or

(d) has or who claims to have knowledge of damages in this action.

ANSWER:

9. As to the driver of your vehicle being operated at the time of the wreck, please state:
(a) the driver's complete name;
(b) the driver's present home address;
{c) and such driver's mode of compensation.

ANSWER:

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10. Please state all facts on which you rely as tending to show any negligence or lack
of care of any kind on the part of the plaintiff regarding the occurrence of the subject motor
vehicle collision.

ANSWER:

11. If you contend that any or all of the injuries and/or medical bills claimed by the
Plaintiff in this action are not the result of the collision giving rise to this lawsuit, please describe
the basis of any such contention, identify all facts which support the contention and all persons
with knowledge of those facts, which specific injuries/bills you contend are unrelated and the
specific event/incident, if any, you contend brought about the unrelated injuries/bills.

ANSWER:

12. If you contend that a person or entity, not a party to this action, acted in such a
manner as to cause or contribute to the subject motor vehicle collision and/or the injuries to the
plaintiff, give a statement of the facts upon which you rely, the name and address of the person
or entity, and exactly in what manner such other vehicle or person contributed thereto.

ANSWER:

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13. State whether or not you have any evidence to indicate that any of the parties or
witnesses to this matter have ever been convicted of a felony, or misdemeanor involving moral
turpitude. If so, specify the nature of the offense, date of the offense, date of conviction, court of
conviction and whether they pled guilty to the charge convicted of or any lesser charge.

ANSWER:

14. Describe in detail the initial and continuing training requirements for your
truck drivers, including employees and "independent" drivers, as of December 2, 2019, including
driving history and all training provided by this defendant or required by this defendant of truck
operators, including all safety courses, manuals, procedures, videos, instructions, certificates,
licenses, required operational time, required driving record, etc. and including all training,
certificates, licenses, etc. Rafique Thompson possessed to operate the truck on December 2,

2019.

ANSWER:

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15. As to the trip in which the truck was engaged at the time of the motor vehicle
collision in question, give the following information: The date, time and place the truck left its
home base to start the trip; the nature and purpose of the trip; the places, dates, times and
locations of each stop; when and where it was scheduled to end; and the names, addresses, and
telephone numbers of each person with knowledge regarding the truck's whereabouts during the
24 hours prior to the motor vehicle collision which is the subject of this litigation.

ANSWER:

16. Please state whether your 2019 International truck contained or utilized an
on-board recording device, dash camera, Smartdrive or similar monitoring system, engine
control module, event data recorder, on-board computer, transponder, tachograph, trip monitor,
trip recorder, trip master, toll payment device, Qualcomm, GPS or other device known by any
other name which records information concerning the operation and location of the vehicle. If
so, please state the name and address of the person having custody of the graphs, printouts, raw
data, and/or other documentary evidence produced or capable of being produced by said machine
regarding any data for any and all parts of the trip which ultimately was involved in the accident
which forms the basis of Plaintiff's Complaint.

ANSWER:

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17. State the name and address for the Safety Director and/or the Federal Safety
Regulation Compliance Officer and the Terminal Manager for your organization who were in the
positions named above at the time of the subject motor vehicle collision and during any portion
of the trip which ultimately involved the motor vehicle collision referenced in the Complaint,
including whether said person(s) are still in your employ.

ANSWER:

18. Describe in detail the damage and extent of damage to all vehicles involved in the
motor vehicle collision and if the defendants' vehicle was inspected, appraised or repaired, the
date of the inspection, appraisal, or repair, the name, address and telephone number of the
person(s) who performed the inspection, appraisal or repair and the findings of same.

ANSWER:

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19, State whether you have any evidence that any individual involved in this motor
vehicle collision, whether as a driver, passenger, or otherwise, consumed any drugs, alcohol,
narcotics, sedatives, tranquilizers, and/or medication within the twenty-four (24) hours preceding
the motor vehicle collision and, if so, identify the substance consumed, the quantity consumed,
the time and place of consumption, and the name and address of all persons present at the time of
the consumption and the results of any testing.

ANSWER:

20, State whether or not any equipment on the truck operated by defendant Rafique
Thompson was missing, defective, inoperative or in need of repair at the time of the subject
motor vehicle collision and, if so, the nature of the defect, the date and time you first became
aware of the defect, the identity of the person who last worked on the vehicle in an effort to cure
or correct the defect, the identity of all individuals known to you who have knowledge of said
defect, and whether such defect in any way contributed to the subject motor vehicle collision.

ANSWER;

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21. With regard to the motor vehicle collision complained of in the plaintiff's
Complaint, please set forth the following:

(a) Your understanding of the facts and circumstances which caused or allegedly
caused said injuries to the plaintiff and how you contend that the motor vehicle collision which is
the subject of this action took place;

(b) Whether there existed, as of the date of the subject motor vehicle collision, a
procedure under which such incidents, if any, were reported to you, and whether such a report
relating to this motor vehicle collision was in fact prepared by any person, and if so, by whom it
was prepared, the time and date it was prepared and the name, business and residence addresses
and telephone numbers of the present custodian of any such report. Please attach a copy of any

such report to your answers.

 

ANSWER:
REQUEST FOR PRODUCTION OF DOCUMENTS
is Copies of any incident or accident reports, prepared by any person or entity other

than your lawyer, pertaining to the wreck described in the Complaint.

RESPONSE:

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ei Any repair estimates for damages to the vehicles which were involved in this
wreck, Please include the physical address of the current location of your truck that was involved
in this motor vehicle wreck.

RESPONSE:

3. Copies of any photos, still or motion pictures, plans, maps, drawings, blueprints,
sketches, diagrams, measurements, recordings, computer simulations or any other demonstrative
evidence pertaining to this wreck, including without limitation, pictures of the vehicles involved
in the present collision and the area of the collision.

RESPONSE:

4, Any and all personnel, training, human resource, risk management, safety and all
other files concerning your driver Rafique Thompson, including all disciplinary records, medical
and disability records, accident/incident reports, driving records, driving history, criminal
records, applications, agreements, contracts, acknowledgements, 1099s, W-2s, payroll records,
and all other files concerning Rafique Thompson.

RESPONSE:

5. Any and all cali-in reports or “accident call records" generated pertaining to this
wreck,

RESPONSE:

6. Copies of all ownership, lease, rental and/or other agreements regarding the truck,
trailer and/or the driver involved in the present collision which may have been applicable at the
time of the present collision.

RESPONSE:

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I Copies of any documents or writings which you contend support any contention

that this wreck was the fault of any other person or entity.

RESPONSE:
8. Complete copies of each and every insuring agreement, bond or reinsurance

agreement, along with all declaration's pages, amendments, endorsements, and changes to the
policies identified in response to the foregoing Interrogatories.

RESPONSE:

9. Copies of all driver's manuals and company rules, manuals, policies, and/or
procedures in effect at the time of the wreck described in Plaintiff's Complaint regarding the use
and/or operation of vehicles,

RESPONSE:

10. Copies of all statements in any form from any person regarding the present
collision, the Plaintiff and/or Plaintiff's past medical care, including but not limited to statements
made by the Plaintiff.

RESPONSE:

11. Each and every document and/or record of whatever nature obtained by defense
counsel by way of subpoena duces tecum.

RESPONSE:

12. All documents and photographs regarding any defect, damage, inspection,
maintenance, or repair to the vehicles that were involved in the subject motor vehicle collision.

RESPONSE:

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13. Any and all documents related to the relationship of employment or the issues
of scope of employment of Rafique Thompson.

RESPONSE:

14. Defendant Rafique Thompson's time cards, logs, and any other records regarding
his employment, time on the clock, and whereabouts on December 2, 2019 and the 24 hours
leading up to the time of this subject motor vehicle collision.

RESPONSE:

15. Every document or other tangible thing or evidence of any nature whatsoever,
regarding the taking of any breath, blood or urine tests or results thereof or of the consumption of
any drugs, alcohol, narcotics, sedatives, tranquilizers, and/or medication by any party to this suit
within the twenty-four (24) hours preceding the subject motor vehicle collision.

RESPONSE:

16. _ All written reports of any expert witnesses identified by you or whom you intend
to call at trial.

RESPONSE:

17. All documents or other tangible things provided to any expert witnesses identified
by you or whom you intend to call at trial.

RESPONSE:

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18.  Acopy of all driving records you have on file regarding Rafique Thompson for
any and all times, including Rafique Thompson's driver's licenses in effect on the date of the
motor vehicle collision and all driving history reports, MVRs, DMV records, traffic citations,
accident reports, property damage records, etc. in your possession regarding Rafique Thompson.

RESPONSE:

19, Each and every document, writing, paper, or letter which you intend to utilize as a
basis for grounds for any defense in this action or which you expect to offer into evidence upon
the trial of this action.

RESPONSE:

20. All documents, photographs, videotapes, drawings, sketchings, writings, papers,
and/or letters related to the subject matter of this suit in any manner whatsoever or the plaintiff.

RESPONSE:

21. Every document or other tangible thing of any nature whatsoever, including but
not limited to, ex parte affidavits, statements in writing, all recorded statements which impeach
or relate to the credibility of any witness who has knowledge of any facts regarding this case.

RESPONSE:

22. Any medical records or reports (excluding those produced by the plaintiff to the
defendant) that defendant has received relating to the medical history and medical treatment of
the plaintiff.

RESPONSE:

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23, Every document or other tangible thing of any nature whatsoever which you
relied on in answering any Interrogatories or reviewed in answering any Interrogatories or from
which you received any information in answering Interrogatories not otherwise requested in this
Request for Production of Documents.

RESPONSE:

24. Copies of all documents, correspondence, and reports sent to or received from any
federal, state, or local regulatory agency regarding the subject motor vehicle collision.

RESPONSE:

25. Copies of any and all daily vehicle inspection reports concerning the subject truck
involved in the motor vehicle collision for the 30 days prior to the collision, through and
including the 10 days after the motor vehicle collision,

RESPONSE:

26. Copies of the complete maintenance records for the truck involved in this motor
vehicle collision for the six (6) months prior to and including the motor vehicle collision.

RESPONSE:

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27, Any and all of the driver's logs, fuel receipts, toll receipts, food receipts, checks,
drafts, daily trip reports, time cards, payroll records, and all other records for Rafique Thompson
in the 24 hours prior to the motor vehicle collision which is the subject of this litigation.

RESPONSE:

28. All training, qualifications, certifications, licenses, records of operational hours,
etc, Rafique Thompson had to operate trucks up to the time of the collision which is the subject

of this litigation.

RESPONSE:

29. The original raw data and copies of any and all printouts of any on-board
recording device, Smartdrive or similar monitoring systems, engine control module, event data
recorder, on-board computer, collision warning system, transponder, tachograph, trip monitor,
trip recorder, trip master, toll payment device, GPS, or other device known by any other name
which records information concerning the operation of the vehicle operated by Rafique
Thompson for the period commencing 48 hours before the motor vehicle collision through and
including the occurrence of the motor vehicle collision.

RESPONSE:

30. Avcopy of Rafique Thompson’s company cell phone call and activity log or
itemization for December 2, 2019,

RESPONSE:

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31, All dashboard camera video footage, driving recorder video footage, onboard
video camera footage or other video footage of the defendant driver and/or the defendant's
vehicle for the 12 hours leading up to and including the occurrence of the collision, and for the
two hours following the collision.

RESPONSE:

MEGAN JONC /

By:

 

Of.Corfasél
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VIRGINIA: IN THE CIRCUIT COURT FOR THE CITY OF SUFFOLK

MEGAN JONCAS,
Plaintiff
vs. CASE #: OL2EMAT
RAFIQUE THOMPSON,
and
WERNER ENTERPRISES, INC.,
Defendants.

REQUEST FOR ADMISSIONS TO WE R ENTERPRISES, INC.

TO: WERNER ENTERPRISES, INC.

R/A Corporate Creations Network, Inc.

425 West Washington Street, Suite 4

Suffolk, Virginia 23434-5320

NOW COMES the plaintiff, Megan Joncas, by counsel, pursuant to Rule 4:11 of the
Rules of the Supreme Court of Virginia and requests defendant, Werner Enterprises, Inc. to admit
or deny the truth of each of the statements of facts herein stated.

DEFINITIONS

a. The term "collision" refers to the vehicle accident involving, the motor vehicle
operated by Megan Joncas and a tractor trailer commercial truck operated by Rafique Thompson
on December 2, 2019 as set forth in the Complaint.

b. The terms "roadway," "road," and “highway,” all refer to Holland Road near its

intersection with Chappell Drive in the City of Suffolk, Virginia where the accident occurred,

unless specifically stated otherwise within the request.
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o Unless specifically stated otherwise within the request, the terms "site" and
“scene” refer to the entire area where the subject incident occurred, encompassing the places
where the various vehicles first made contact, the places where they came to rest, and all areas in
between.

d. Rather than expressly qualifying each individual request with the phrase "at the
time and place in question," these requests implicitly refer to the approximate time and place of
the subject incident, unless specifically stated otherwise within the request.

€. Where the plaintiff requests admission of facts, knowledge or information (or lack
thereof) in possession of the defendant, such request for admission indicates knowledge of not
only the defendant, but also of the defendant’s agents, insurer(s) (including the insurer's agents
and employees), representatives, and, unless privileged, the defendants’ attorneys (including the
attorneys’ agents and employees).

REQUESTS

1, Admit that on December 2, 2019 at or about 7:01 p.m., Werner Enterprises, Inc.
was the owner of the 2019 International Tractor Trailer commercial truck bearing USDOT
number 53467.

RESPONSE:

2 Admit that the 2019 International Tractor Trailer commercial truck was being
operated by Rafique Thompson at the time of the collision.

RESPONSE:
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3. Admit that Rafique Thompson was working within the scope of his employment with
Werner Enterprises, Inc. at the time of the collision.

RESPONSE:

4. Admit that at the time of the collision Rafique Thompson had the express and/or
implied permission of Wemer Enterprises, Inc. to operate the 2019 International Tractor Trailer
commercial truck.

RESPONSE:

5. Admit that Werner Enterprises, Inc. is vicariously liable for the negligence of Rafique
Thompson as alleged in the Complaint if proven.

RESPONSE:

6. Admit that Werner Enterprises, Inc. is the correct legal name of the entity named

named in the Complaint.

RESPONSE:
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7, Admit that Werner Enterprises, Inc. was properly served with the Complaint.

RESPONSE:

8. Admit that the City of Suffolk Circuit Court in Virginia has jurisdiction over the
subject matter of this lawsuit.

RESPONSE:

9. Admit that venue is proper in the City of Suffolk, Virginia.

RESPONSE:

PLAINTIFF'S SECOND SET OF INTERROGATORIES
AND REQUEST FO UCTION OF DOCUMENTS

INSTRUCTIONS
Please refer to the instructions as set forth in Plaintiff's First Set of Interrogatories.
1. If your answers to any of the Request for Admissions are anything other than
admitted, please state all the facts or opinions upon which you base your response together with
the name of the person(s) having knowledge of facts or holding such opinion.

RESPONSE:
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REQUEST FOR PRODUCTION OF DOCUMENTS

1. Please identify and attach all documents or other tangible things of any nature
whatsoever regarding your answer to the preceding Interrogatory.
RESPONSE:

MEGAN JON as /
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By.

OUNSE

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(VSB#74162)

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